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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                          :
                                                   :
          v.                                       :    CASE NO.
                                                   :
                                                   :
 JON LIZAK,                                        :    VIOLATION:
                                                   :    40 U.S.C. § 5104(e)(2)(G)
                       Defendant.                  :    (Parading, Demonstrating, or Picketing in
                                                   :    a Capitol Building)




                                    INFORMATION

       The United States Attorney charges that at all relevant times:


                                         COUNT ONE

       On or about January 6, 2021, in the District of Columbia, JON LIZAK willfully and

knowingly paraded, demonstrated, and picketed in any United States Capitol Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(G))

                                                       Respectfully submitted,

                                                       MATTHEW M. GRAVES
                                                       United States Attorney
                                                       D.C. Bar No. 481052


                                             By:       _______________________
                                                       JOSEPH HUYNH
                                                       Attorney, detailed to the
                                                       United States Attorney’s Office for the
                                                       District of Columbia
                                                       555 Fourth Street, N.W.
                                                       Washington, DC 20530
